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OLF3 (Official Local Form 3)
Effective December 1, 2017
                                                    UNITED STATES BANKRUPTCY COURT
                                                       DISTRICT OF MASSACHUSETTS

In re:                                                                                                  Case No.: 23-10177
         Adam Ethan Livingston                                                                         Chapter 13
                          Debtor(s)

                                                                 CHAPTER 13 PLAN

Check one. This plan is:
        Original
         Amended (Identify First, Second, Third, etc.) FOURTH
        Postconfirmation (Date Order Confirming Plan Was Entered:                                                  )
 Date this plan was filed: January 19, 2024



PART 1:                                                       NOTICES
TO ALL INTERESTED PARTIES:
You should review carefully the provisions of this Plan as your rights may be affected. In the event the Court enters an order confirming this Plan, its
provisions may be binding upon you. The provisions of this Plan are governed by statutes and rules of procedure, including Title 11 of the United
States Code (the “Bankruptcy Code”), the Federal Rules of Bankruptcy Procedure (“Fed. R. Bankr. P.”), the Massachusetts Local Bankruptcy Rules
(“MLBR”), and, in particular, the Chapter 13 rules set forth in Appendix 1 of MLBR, all of which you should consult.

TO CREDITORS:
Your rights may be affected by this Plan. Your claim may be reduced, modified, or eliminated. Read this Plan carefully and discuss it with your
attorney. If you do not have an attorney, you may wish to consult with one. If you oppose this Plan's treatment of your claim or any other provision
of this Plan, you or your attorney must file with the Court an objection to confirmation on or before the later of (i) thirty (30) days after the date on
which the first Meeting of Creditors pursuant to 11 U.S.C. § 341 is held or (ii) thirty (30) days after service of an amended or modified Plan, unless
the Court orders otherwise. A copy of your objection must be served on the Debtor(s), the attorney for the Debtor(s), and the Chapter 13 Trustee (the
“Trustee”). The Bankruptcy Court may confirm this Plan if no objection to confirmation is filed or if it overrules an objection to confirmation. You
have received or will receive a Notice of Chapter 13 Bankruptcy Case from the Bankruptcy Court which sets forth certain deadlines, including the
bar date for filing a Proof of Claim. To receive a distribution, you must file a Proof of Claim.

TO DEBTOR(S):
You (or your attorney) are required to serve a copy of this Plan on all creditors in the manner required under the Bankruptcy Code, the Fed. R. Bankr.
P., and MLBR. Unless the Court orders otherwise, you must commence making payments not later than the earlier of (i) thirty (30) days after the
date of the filing of this Plan or (ii) thirty (30) days after the order for relief. You must check a box on each line below to state whether or not this
Plan includes one or more of the following provisions. If you check the provision “Not Included,” if you check both boxes, or if you do not
check a box, any of the following provisions will be void if set forth later in this Plan. Failure to properly complete this section may result in
denial of confirmation of this Plan.

                FOR EACH LINE BELOW, DO NOT CHECK BOTH BOXES; DO NOT LEAVE BOTH BOXES BLANK.
1.1      A limit on the amount of a secured claim, set out in Part 3.B.1, which may result in a Included Not Included
         partial payment or no payment at all to the secured creditor.
1.2      Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest,    Included Not Included
         set out in Part 3.B(3).
1.3      Nonstandard provisions, set out in Part 8.                                             Included Not Included


PART 2:                                                 PLAN LENGTH AND PAYMENTS
A.        LENGTH OF PLAN:

           36 Months. 11 U.S.C. § 1325(b)(4)(A)(i);
           60 Months. 11 U.S.C. § 1325(b)(4)(A)(ii);

           48 Months. 11 U.S.C. § 1322(d)(2). The Debtor(s) states the following cause:

Debtor cannot afford a Plan shorter than 48 months

B.        PROPOSED MONTHLY PAYMENTS:

Monthly Payment Amount                                                       Number of Months
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$192.63                                                                         11
$287.00                                                                         37

C.        ADDITIONAL PAYMENTS:

Check one.
                    None. If “None” is checked, the rest of Part 2.C need not be completed and may be deleted from this Plan.

The total amount of Payments to the Trustee [B+C]:                                                                $12,738.00.
This amount must be sufficient to pay the total cost of this Plan in Exhibit 1, Line h.

PART 3:                                                         SECURED CLAIMS
                    None. If “None” is checked, the rest of Part 3 need not be completed and may be deleted from this Plan.

A.        CURE OF DEFAULT AND MAINTENANCE OF PAYMENTS:

Check one.

          None. If “None” is checked, the rest of Part 3.A need not be completed and may be deleted from this Plan.
          Any Secured Claim(s) in default shall be cured and payments maintained as set forth in (1) and/or (2) below.
          Complete (1) and/or (2).

          (1) PREPETITION ARREARS TO BE PAID THROUGH THIS PLAN

Prepetition arrearage amounts are to be paid through this Plan and disbursed by the Trustee. Unless the Court orders otherwise, the amount(s) of
prepetition arrears listed in an allowed Proof of Claim controls over any contrary amount(s) listed below. Unless the Court orders otherwise, if relief
from the automatic stay is granted as to any collateral listed in this paragraph, all payments paid through this Plan as to that collateral will cease upon
entry of the order granting relief from stay.

          (a) Secured Claim(s) (Principal Residence)
           Address of the Principal Residence:
                  The Debtor(s) estimates that the fair market value of the Principal Residence is: $


Name of Creditor                                    Type of Claim                                        Amount of Arrears
                                                    (e.g., mortgage, lien)
-NONE-

                                                                             Total of prepetition arrears on Secured Claim(s) (Principal Residence): $0.00

          (b) Secured Claim(s) (Other)

Name of Creditor                       Type of Claim                Description of Collateral                            Amount of Arrears
                                                                    (or address of real property)
Capital One                            secured                      bank account                                         $0.00
First Digital                          secured                      bank account                                         $0.00
Sable/Coastal Comm Bank                secured credit card          purchases                                            $0.00
Snap On Tools                          PMSI                         tools                                                $0.00

                                                                                          Total of prepetition arrears on Secured Claim(s) (Other): $0.00
                                                                               Total prepetition arrears to be paid through this Plan [(a) + (b)]: $0.00

          (2) MAINTENANCE OF CONTRACTUAL INSTALLMENT PAYMENTS (TO BE PAID DIRECTLY TO CREDITORS):

Contractual installment payments are to be paid directly by the Debtor(s) to creditor(s). The Debtor(s) will maintain the contractual installment
payments as they arise postpetition on the secured claims listed below with any changes required by the applicable contract and noticed in conformity
with any applicable rules.

Name of Creditor                                    Type of Claim                                        Description of Collateral
Capital One                                         bank account                                         bank account
First Digital                                       bank account                                         bank account
Snap On Tools                                       PMSI                                                 Work hand and power tools
Sable/Coastal Comm Bank                             secured credit card                                  purchases
                                                                                                                                                   Page 2 of 9
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B.        MODIFICATION OF SECURED CLAIMS:

Check one.


          None. If “None” is checked, the rest of Part 3.B need not be completed and may be deleted from this Plan.
          Secured Claim(s) are modified as set forth in 1, 2, and/or 3 below. Complete 1, 2, and/or 3 below.

          (1) REQUEST FOR VALUATION OF SECURITY, PAYMENT OF FULLY SECURED CLAIMS, AND MODIFICATION OF
              UNDERSECURED CLAIMS UNDER 11 U.S.C. § 506:

          None. If “None” is checked, the rest of Part 3.B.1 need not be completed and may be deleted from this Plan.

          (2) SECURED CLAIMS EXCLUDED FROM 11 U.S.C. § 506:

          None. If “None” is checked, the rest of Part 3.B.2 need not be completed and may be deleted from this Plan.

This section includes any claim(s) that was either (i) incurred within 910 days before the petition date and secured by a purchase-money security
interest in a motor vehicle acquired for the personal use of the Debtor(s) or (ii) incurred within one year of the petition date and secured by a
purchase-money security interest in any other thing of value. Such claim(s) will be paid in full through this Plan with interest at the rate stated below.
Unless the Court orders otherwise, the claim amount stated on an allowed Proof of Claim controls over any contrary amount listed below.

If you are treating the claim in Part 3.B.1 or 3.B.3, you should not include the claim in this section.

Name of Creditor            Description of Collateral                         Secured Claim Amount Interest Rate             Total Claim
Okinus Inc                  Tires                                                          $1,192.00 0.00%                                 $1,192.00
Purchasing Power            Apple watch and Airtags                                        $1,371.00 0.00%                                 $1,371.00
LLC

                                                                           Total Claim(s) under Part 3.B.2 to be paid through this Plan: $2,563.00

          (3) LIEN AVOIDANCE UNDER 11 U.S.C. § 522(f):

          None. If “None” is checked, the rest of Part 3.B.3 and Exhibits 3 and 4 need not be completed and may be deleted from this Plan.

C.        SURRENDER OF COLLATERAL:

Check one.

          None. If “None” is checked, the rest of Part 3.C need not be completed and may be deleted from this Plan.

PART 4:                                                        PRIORITY CLAIMS
Check one

          None. If “None” is checked, the rest of Part 4 need not be completed and may be deleted from this Plan.

          The following priority claim(s) will be paid in full without postpetition interest. Unless the Court orders otherwise, the amount of
          the priority portion of a filed and allowed Proof of Claim controls over any contrary amount listed below.


A.        DOMESTIC SUPPORT OBLIGATIONS:

Name of Creditor                                    Description of Claim                                  Amount of Claim
-NONE-

B.      OTHER PRIORITY CLAIMS (Except Administrative Expenses):
 Name of Creditor                   Description of Claim                                                  Amount of Claim
 -NONE-

                                                  Total of Priority Claim(s) (except Administrative Expenses) to be paid through this Plan: $0.00


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C.        ADMINISTRATIVE EXPENSES:

          (1) ATTORNEY’S FEES:

Name of Attorney                                                                                  Attorney's Fees
John Ullian, Esq. 542786                                                                                                                   $6,757.00

If the attorney's fees exceed the amount set forth in MLBR, Appendix 1, Rule 13-7, the Trustee may not pay any amount exceeding that sum until
such time as the Court approves a fee application. If no fee application is approved, any plan payments allocated to attorney's fees in excess of
MLBR Appendix 1, Rule 13-7 will be disbursed to other creditors up to a 100% dividend.

          (2) OTHER (Describe):

-NONE-




Total Administrative Expenses (excluding the Trustee’s Commission) to be paid through this Plan [(1) + (2)]: $6,757.00

          (3) TRUSTEE’S COMMISSION:

The Debtor shall pay the Trustee’s commission as calculated in Exhibit 1.

The Chapter 13 Trustee's fee is determined by the United States Attorney General. The calculation of the Plan payment set forth in Exhibit 1, Line
(h) utilizes a 10% Trustee's commission. In the event the Trustee's commission is less than 10%, the additional funds collected by the Trustee, after
payment of any allowed secured and priority claim(s), and administrative expense(s) as provided for in this Plan, shall be disbursed to nonpriority
unsecured creditors up to 100% of the allowed claims.


PART 5:                                                NON PRIORITY UNSECURED CLAIMS
Check one.

          None. If “None” is checked, the rest of Part 5 need not be completed and may be deleted from this Plan.
          Any allowed nonpriority unsecured claim(s) other than those set forth in Part 5.F will be paid as stated below. Only a creditor
          holding an allowed claim is entitled to a distribution.



             Fixed Amount (“Pot Plan”): each creditor with an allowed claim shall receive a pro rata share of $ 2,144.00 , which the Debtor(s)
             estimates will provide a dividend of 5.3 %.
             Fixed Percentage: each creditor with an allowed claim shall receive no less than % of its allowed claim.

A.        GENERAL UNSECURED CLAIMS:                                                                                                $35,925.00

B.        UNSECURED OR UNDERSECURED CLAIMS AFTER MODIFICATION IN PART 3.B OR 3.C:

Name of Creditor                                   Description of Claim                               Amount of Claim
-NONE-

C.        NONDISCHARGEABLE UNSECURED CLAIMS (e.g., student loans):

Name of Creditor                                   Description of Claim                               Amount of Claim
MA Board of Higher Education                       nondischargable student loans                                                           $4,000.00
Nelnet/Dept of Edu                                 nondischargable student loans                                                               $0.00

D.        CLAIMS ARISING FROM REJECTION OF EXECUTORY CONTRACTS OR LEASES:

Name of Creditor                                   Description of Claim                               Amount of Claim
-NONE-

E.        TOTAL TO BE PAID TO NONPRIORITY UNSECURED CREDITORS THROUGH THIS PLAN:


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          The amount paid to nonpriority unsecured creditor(s) is not less than that required under the Liquidation Analysis set forth in
          Exhibit 2.

                                                                                  Total Nonpriority unsecured Claims [A + B + C + D]: $39,925.00

                Enter Fixed Amount (Pot Plan) or multiply total nonpriority unsecured claim(s) by Fixed Percentage and enter that amount: $2,144.00

F.        SEPARATELY CLASSIFIED UNSECURED CLAIMS (e.g., co-borrower):

Name of Creditor               Description of Claim           Amount of Claim               Treatment of Claim           Basis for Separate
                                                                                                                         Classification
-NONE-

                                                               Total of separately classified unsecured claim(s) to be paid through this Plan: $0.00


PART 6:                                   EXECUTORY CONTRACTS AND UNEXPIRED LEASES
Check one.

          None. If “None” is checked, the rest of Part 6 need not be completed and may be deleted from this Plan.

PART 7:                               POSTCONFIRMATION VESTING OF PROPERTY OF THE ESTATE
If the Debtor(s) receives a discharge, property of the estate will vest in the Debtor(s) upon entry of the discharge. If the Debtor(s) does not receive a
discharge, property of the estate will vest upon the earlier of (i) the filing of the Chapter 13 Standing Trustee's Final Report and Account and the
closing of the case or (ii) dismissal of the case.

PART 8:                                                NONSTANDARD PLAN PROVISIONS
          None. If “None” is checked, the rest of Part 8 need not be completed and may be deleted from this Plan.
          This Plan includes the following nonstandard provisions. Under Fed. R. Bankr. P. 3015(c), each nonstandard provision must be set
          forth below in a separately numbered sentence or paragraph. A nonstandard provision is a provision not otherwise included in Official
          Local Form 3, or which deviates from Official Local Form 3. Nonstandard provisions set forth elsewhere in this Plan are ineffective. To
          the extent the provisions in Part 8 are inconsistent with other provisions of this Plan, the provisions of Part 8 shall control if the box
          "Included" is checked in Part 1, Line 1.3.

The following Plan provisions are effective only if the box “Included” in Part 1, Line 1.3 is checked.

1. Administrative claims payable to The Law Firm of Ullian & Associates, P.C. shall be payable over the first 12 months after
confirmation, subject to the provisions of Part 4.C.1.
2. The inclusion of a claim in this Plan is not an admission as to the amount of the claim, the Debtor reserves the right to
object to the claim.


PART 9:                                                        SIGNATURES
By signing this document, Debtor(s) acknowledges reviewing and understanding the provisions of this Plan and the Exhibits filed as identified
below.

By signing this document, the Debtor(s) and, if represented by an attorney, the attorney for the Debtor(s), certifies that the wording and order of the
provisions in this Plan are identical to those contained in Official Local Form 3, including the Exhibits identified below, other than any Nonstandard
Plan Provisions in Part 8.


      /s/ Adam Ethan Livingston                                                   January 19, 2024
      Adam Ethan Livingston                                                       Date
      Debtor


      Debtor                                                                      Date

    /s/ John Ullian, Esq.                                                 Date    January 19, 2024
Signature of attorney for Debtor(s)

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John Ullian, Esq. 542786
The Law Firm of Ullian & Associates, P.C.
220 Forbes Road, Suite 106
Braintree, MA 02184
781-848-5980
john@ullianlaw.com

The following Exhibits are filed with this Plan:
   Exhibit 1: Calculation of Plan Payment*
   Exhibit 2: Liquidation Analysis*
   Exhibit 3: Table for Lien Avoidance under 11 U.S.C. § 522(f)**
   Exhibit 4: [Proposed] Order Avoiding Lien Impairing Exemption**

List additional exhibits if applicable.


*Denotes a required Exhibit in every plan
**Denotes a required Exhibit if the box "Included" is checked in Part 1, Line 1.2.

Total number of Plan pages, included Exhibits: 9




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                                                                      EXHIBIT 1

                                                      CALCULATION OF PLAN PAYMENT

a)   Secured claims (Part 3.A and Part 3.B.1-3 Total):                                                                             $2,563.00
b)   Priority claims (Part 4.A and Part 4.B Total):                                                                                    $0.00
c)   Administrative expenses (Part 4.C.1 and 4.C.2 Total):                                                                         $6,757.00
d)   Nonpriority unsecured claims (Part 5.E Total):                                                                                $2,144.00
e)   Separately classified unsecured claims (Part 5.F Total):                                                                          $0.00
f)   Executory contract/lease arrears claims (Part 6 Total):                                                                           $0.00
g)   Total of (a) + (b) + (c) + (d) + (e) + (f):                                                                                  $11,464.00
h)   Divide (g) by .90 for total Cost of Plan including the Trustee's fee:                                                        $12,738.00
i)   Divide (h), Cost of Plan, by term of Plan, 36 months:
j)   Round up to the nearest dollar amount for Plan payment:

If this is either an amended Plan and the Plan payment has changed, or if this is a postconfirmation amended Plan, complete(a) through (h) only
and the following:

k)   Enter total amount of payments the Debtor(s) has paid to the Trustee:                                                         $2,119.00
l)   Subtract line (k) from line (h) and enter amount here:                                                                       $10,619.00
m)   Divide line (l) by the number of months remaining (37 months):                                                                  $264.00
n)   Round up to the nearest dollar amount for amended Plan payment:                                                                 $287.00

Date the amended Plan payment shall begin:         February 1, 2024




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                                                              EXHIBIT 2

                                                        LIQUIDATION ANALYSIS

A. REAL PROPERTY
Address                            Value                             Lien                              Exemption
(Sch. A/B, Part 1)                 (Sch. A/B, Part 1)                (Sch. D, Part 1)                  (Sch. C)
-NONE-

Total Value of Real Property (Sch. A/B, line 55):                                        $ 0.00
Total Net Equity for Real Property (Value Less Liens):                                   $ 0.00
Less Total Exemptions for Real Property (Sch. C):                                        $ 0.00
                                         Amount Real Property Available in Chapter 7:    $ 0.00

B. MOTOR VEHICLES

Make, Model and Year               Value                             Lien                              Exemption
(Sch. A/B, Part 2)                 (Sch. A/B, Part 2)                (Sch. D, Part 1)                  (Sch. C)
-NONE-

Total Value of Motor Vehicles (Sch. A/B, line 55):                                       $ 0.00
Total Net Equity for Motor Vehicles (Value Less Liens):                                  $ 0.00
Less Total Exemptions for Motor Vehicles (Sch. C):                                       $ 0.00
                                          Amount Motor Vehicle Available in Chapter 7:   $ 0.00

C. ALL OTHER ASSETS (Sch. A/B Part 2, no. 4; Part 3 through Part 7. Itemize.)

Asset                              Value                             Lien                              Exemption
                                                                     (Sch. D, Part 1)                  (Sch. C)
household goods and                500.00                            0.00                              500.00
furnishings
cell phone, computer, printer,     2,500.00                          0.00                              2,500.00
apple watch, television, and
sound bar
hand tools and power tools         4,000.00                          0.00                              4,000.00
Work hand and power tools          12,000.00                         13,287.00                         0.00
(secured by Snap On Tools)
clothing                           200.00                            0.00                              200.00
jewelry/watch                      800.00                            0.00                              800.00
Cash                               0.00                              0.00                              0.00
Checking: Discover                 0.00                              0.00                              0.00
Checking: Chase                    0.00                              0.00                              0.00
Checking: Blue Stone Bank          0.00                              0.00                              0.00
Checking: TD Bank                  0.00                              0.00                              0.00
Credit Union: Merrick Valley       0.00                              0.00                              0.00
Fed CU
Checking: Bank of Amreica          0.00                              0.00                              0.00
Checking: Capital One -2           300.00                            300.00                            0.00
accts
Checking: Citizens Bank            10.00                             0.00                              10.00
Checking: Wells Fargo              0.00                              0.00                              0.00
Savings: Citizens Bank             1,000.00                          0.00                              1,000.00
Kick off credit                    4.00                              0.00                              4.00
Checking: SOFI                     0.00                              0.00                              0.00
Checking: First Digital            240.00                            240.00                            0.00
401(k): 401(k) through work,       0.00                              0.00                              0.00
not part of estate,
approximately $2,700
specialty tool-ODC scan tool       600.00                            0.00                              600.00

Total Value of All Other Assets:                                                         $ 22,154.00
Total Net Equity for All Other Assets (Value Less Liens):                                $ 9,614.00

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Less Total Exemptions for All Other Assets:                                            $ 9,614.00
                                    Amount of All Other Assets Available in Chapter 7: $ 0.00

D. SUMMARY OF LIQUIDATION ANALYSIS

                                 Amount available in Chapter 7                                       Amount
A. Amount Real Property Available in Chapter 7 (Exhibit 2, A)                                   $                 0.00
B. Amount Motor Vehicles Available in Chapter 7 (Exhibit 2, B)                                  $                 0.00
C. Amount All Other Assets Available in Chapter 7 (Exhibit 2, C)                                $                 0.00

                                               TOTAL AVAILABLE IN CHAPTER 7:                    $                 0.00


E. ADDITIONAL COMMENTS REGARDING LIQUIDATION ANALYSIS:




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OLF3A (Official Local Form 3A)
                                            UNITED STATES BANKRUPTCY COURT
                                              DISTRICT OF MASSACHUSETTS

 In re:   Adam Livingston                                                             Case No. 23-10177
                                                                                      Chapter 13

                   Debtor(s)


Instructions to Debtor(s):

    A. Pursuant to MLBR, Appendix 1, Rule 13-4(b), the Debtor(s) or Debtor(s)’s attorney shall cause a copy of the Plan to
       be served by first class mail or other permitted means upon the Chapter 13 trustee, all creditors of the debtor, all
       attorneys who have filed a notice of appearance and request service of all pleadings, and other parties in interest
       (collectively referred to as the “recipients”) using this form, Official Local Form 3A (“OLF 3A”). You must list
       each recipient’s name and mailing address in the Certificate of Service. Do not include account numbers or any
       personal identifier. See Fed. R. Bankr. P. 9037.

    B. If in the Plan you request:
                 (1) to limit, modify, or determine the amount of a secured claim (you checked the box “Included”
       in Part 1, Line 1.1); and/or
                (2) to avoid a judicial lien or nonpossessory, nonpurchase-money security interest (you checked the
       box “Included” in Part 1, Line 1.2 ),
       you must, in addition to serving the Plan as set forth above in Section A and using OLF 3A, ALSO serve a
       copy of this Plan on the holder(s) of the affected claim(s) and any other entity the Court designates in the
       manner provided for service in accordance with Fed. R. Bankr. P. 7004, using the Affidavit of Service of Chapter
       13 Plan, Official Local Form 3B (“OLF 3B”).

    C. If serving creditors only under Section A, file only OLF 3A with the Court after service is made. If serving creditors
       also under Section B, you must file both OLF 3A and OLF 3B with the Court after service is made.


                                 CERTIFICATE OF SERVICE OF CHAPTER 13 PLAN

                                1/19/24
 I/We hereby certify that on _______________(date)       and in accordance with MLBR, Appendix 1, Rule 13-4(b), I/we
 served by first class United States mail a copy of this Plan to the on the parties on the attached list.



                                                                    By the Debtor(s):


                                                                    /s/ John Ullian
                                                                    Signature of Debtor(s)/attorney for Debtor(s)
                                                                    John Ullian, Esq. BBO: 542786
                                                                    The Law Firm of Ullian & Associates, P.C.
                                                                    220 Forbes Road, Suite 106
                                                                    Braintree, MA 02184
                                                                    781-848-5980
                                                                    John@ullianlaw.com
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Label Matrix for local noticing            Boston
                                              Document            Page 11 of 14           AFC Urgent Care
0101-1                                     U. S. Bankruptcy Court                         3700 Cahaba Beach Road
Case 23-10177                              J.W. McCormack Post Office & Court House       Birmingham, AL 35242-5225
District of Massachusetts                  5 Post Office Square, Suite 1150
Boston                                     Boston, MA 02109-3945
Fri Jan 19 13:23:14 EST 2024
Adam Ethan Livingston                      Afterpay US, Inc.                              Amazon
7 Rodricks Terrace                         222 Kearny Avenue                              410 Terry Ave N
Bridgewater, MA 02324-1645                 Suite 600                                      Seattle, WA 98109-5210
                                           San Francisco, CA 94108-4509


American Express                           American Express                               American Express
9111 Duke Blvd                             PO Box 297871                                  c/o Zwicker & Associates
Mason, OH 45040-8999                       Fort Lauderdale, FL 33329-7871                 225 Foxborough Blvd, Suite 205
                                                                                          Brockton, MA 02305


American Express National Bank             Apple Card                                     Bank of America
c/o Zwicker & Associates, P.C.             Lockbox 6112                                   PO Box 15019
Attorneys/Agents for Creditor              PO Box 7247                                    Wilmington, DE 19850-5019
P.O. Box 9043                              Philadelphia, PA 19170-6112
Andover, MA 01810-0943

(p)CITIBANK                                Bluestone Bank                                 Capital One
PO BOX 790034                              14 Main Street                                 1680 Capital One Drive
ST LOUIS MO 63179-0034                     Bridgewater, MA 02324-1407                     Mclean, VA 22102-3407



Capital One                                Capital One                                    Capital One
PO Box 60                                  PO Box 71083                                   PO Box 71087
Saint Cloud, MN 56302-0060                 Charlotte, NC 28272-1083                       Charlotte, NC 28272-1087



Capital One N.A.                           (p)JPMORGAN CHASE BANK N A                     Check Redi
4515 N Santa Fe Ave                        BANKRUPTCY MAIL INTAKE TEAM                    406 Park Place
Oklahoma City, OK 73118-7901               700 KANSAS LANE FLOOR 01                       Lexington, KY 40511-1829
                                           MONROE LA 71203-4774


Citibank                                   Citibank, N.A.                                 Citibank, N.A.
c/p Portfolio Recovery                     5800 S Corporate Pl                            c/o Quantum3 Group LLC
120 Corporate Blvd                         Sioux Falls, SD 57108-5027                     PO Box 280
Norfolk, VA 23502-4952                                                                    Kirkland, WA 98083-0280


(p)CITIZENS BANK N A                       Citizens One                                   Comenity Bank
ATTN BANKRUPTCY TEAM                       10561 Telegraph Road                           PO Box 182120
ONE CITIZENS BANK WAY                      Glen Allen, VA 23059-4577                      Columbus, OH 43218-2120
JCA115
JOHNSTON RI 02919-1922

Comenity Capital Bank                      Cumberland Farms Smartpay                      DSW
PO Box 659450                              165 Flanders Road                              810 DSW Drive
San Antonio, TX 78265-9450                 Westborough, MA 01581-1000                     Columbus, OH 43219-1828
                  Case 23-10177   Doc 75     Filed 01/19/24            Entered 01/19/24 13:39:52     Desc Main
Discover                                   EBayDocument           Page 12 of 14           (p)EARNIN
PO Box 71084                               2025 Hamilton Avenue                           ATTN LEGAL
Charlotte, NC 28272-1084                   San Jose CA 95125-5904                         200 PORTAGE AVE
                                                                                          PALO ALTO CA 94306-2242


Fidelity                                   Fidelity Investments                           First Digital
900 Salam Street                           100 Crosby Parkway KC2Q                        PO Box 85650
Smithfield RI 02917-1243                   Covington, KY 41015-4399                       Sioux Falls, SD 57118-5650



First Premier Bank                         Gas Buddy                                      Good Samaritan Hospital
601 S Minnesota Ave                        77 N Washington Street Fl 2                    Attn: Collections
Sioux Falls, SD 57104-4868                 Boston, MA 02114-1908                          1 Pearl Street
                                                                                          Brockton, MA 02301-2864


Griots                                     Hertz Corporation                              (p)THE HERTZ CORPORATION
3333 South 38th Street                     PO Box 121056                                  8501 WILLIAMS ROAD
Tacoma, WA 98409-5641                      Dallas, TX 75312-1056                          ESTERO FL 33928-3325



Kikoff Lending LLC                         LDV Inc                                        LL Bean
PO Box 40070                               180 Industrial Drive                           PO Box 9001068
Reno, NV 89504-4070                        Burlington, WI 53105-2307                      Louisville, KY 40290-1068



LVNV Funding LLC                           MA Board of Higher Education                   MERRIMACK VALLEY CREDIT UNION
c/o Resurgent Capital Services             Office of Student Financial Assistance         75 MAIN STREET
PO Box 10587                               75 Pleasant Street                             BRIDGEWATER, MA 02324-1406
Greenville, SC 29603-0587                  Malden, MA 02148-4906


Merrick Valley Credit Union                My Eye Doctor                                  Nelnet/Dept of Edu
500 Merrimack Street                       11 Harvard Street                              121 S 13th Street
Lawrence, MA 01843-1981                    Brookline, MA 02445-7904                       Lincoln, NE 68508-1904



Nok Try Out                                Nordstrom/TD Bank                              Okinus Inc
2368 Washington Ave Ste 2                  13531 E Caley Avenue                           PO BOX 691
Bronx, NY 10458-7729                       Englewood, CO 80111-6505                       Pelham, GA 31779-0691



Own Leasing                                (p)PORTFOLIO RECOVERY ASSOCIATES LLC           Pep Boys
10500 University Center Drive              PO BOX 41067                                   1 Presidential Blvd.
Tampa FL 33612-6461                        NORFOLK VA 23541-1067                          Bala Cynwyd, PA 19004-1016



(p)PERPAY INC                              Premier Bankcard, LLC                          Purchasing Power, LLC
ATTN CONOR HORAN                           Jefferson Capital Systems, LLC Assignee        2727 Paces Ferry Road SE
2400 MARKET STREET SUITE 300               Po Box 7999                                    Bldg.2,Ste 1200
PHILADELPHIA PA 19103-3033                 St. Cloud, MN 56302-7999                       Atlanta, GA 30339-6143
                  Case 23-10177            Doc 75      Filed 01/19/24         Entered 01/19/24 13:39:52              Desc Main
Quantum3 Group LLC                                   Quantum3 Group LLC as agent
                                                        Document           Pagefor13Comenity
                                                                                      of 14 Cap           Redwing Shoes
Credit Corp Solutions Inc                            PO Box 788                                           485 Granite Street
PO Box 788                                           Kirkland, WA 98083-0788                              Braintree, MA 02184-3945
Kirkland, WA 98083-0788


Sable                                                Sable/Coastal Comm Bank                              Shell Card Payments
287 Park Street S Suite 825                          PO Box 85650                                         P.O. Box 9001011
New York, NY 10010-4573                              Sioux Falls, SD 57118-5650                           Louisville, KY 40290-1011



Snap On                                              Snap On Tools                                        (p)SNAP ON CREDIT
PO Box 1216                                          Attn: Chris Picketts                                 950 TECHNOLOGY WAY
Dept 125044                                          24 Howard Street                                     SUITE 301
Oaks, PA 19456-1216                                  South Easton, MA 02375-1411                          LIBERTYVILLE IL 60048-5339


Specialized Financing Co LLC                         Synchony Bank                                        Synchrony Bank
2504 Build America Drive                             PO Box 965015                                        c/o Cavalry SPV I, LLC
Hampton, VA 23666-3223                               Orlando, FL 32896-5015                               PO Box 4252
                                                                                                          Greenwich, CT 06831-0405


Synchrony Bank by AIS InfoSource LP as agent         Synovus Bank                                         (p)TD BANKNORTH NA
4515 N Santa Fe Ave                                  2700 S Lorraine Pl                                   70 GRAY ROAD
Oklahoma City, OK 73118-7901                         SIOUX FALLS, SD 57106-3657                           FALMOUTH ME 04105-2299



TD Bank, N.A.                                        TRS Recovery Services                                Target
PO BOX 1931                                          PO Box 674169                                        P.O. Box 9491
BURLINGAME, CA 94011-1931                            Marietta GA 30006-0070                               Minneapolis, MN 55440-9491



U Own Leasing                                        UPS                                                  US Department of Education
10500 University Center Drive                        PO Box 7247-0244                                     c/o Nelnet
Tampa FL 33612-6461                                  Philadelphia, PA 19170-0001                          121 South 13th Street
                                                                                                          Lincoln, NE 68508-1904


Urgent Care Norwood                                  Venmo                                                Carolyn Bankowski-13-12
103 Providence Highway                               2038 Locust Street Floor 1                           Chapter 13-12 Trustee Boston
Walpole, MA 02032-1512                               Philadelphia, PA 19103-5663                          P. O. Box 8250
                                                                                                          Boston, MA 02114-0950


John A. Ullian                                       Richard King - B
The Law Firm of Ullian & Associates, P.C             Office of the US Trustee
220 Forbes Road, Suite 106                           J.W. McCormack Post Office & Courthouse
Braintree, MA 02184-2711                             5 Post Office Sq., 10th Fl, Suite 1000
                                                     Boston, MA 02109-3901



                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).
                  Case 23-10177           Doc 75       Filed 01/19/24           Entered 01/19/24 13:39:52            Desc Main
Best Buy                                             (d)CBNA
                                                        Document           Page 14 of 14                  Chase
Best Buy Credit Services                             50 Northwest Point Road                              PO Box 15583
Po Box 183195                                        Elk Grove Village, IL 60007                          Wilmington, DE 19886
Columbus, OH 43218-3195


Citizens                                             Earnin App                                           Hertz Rental Car
One Citizens Plaza                                   200 Portage Ave                                      8501 Williams Road
Providence, RI 02903                                 Palo Alto, CA 94306                                  Estero, FL 33928, USA



PORTFOLIO RECOVERY ASSOCIATES, LLC                   Perpay                                               (d)Perpay
POB 41067                                            1217 Sansom Street                                   1217 Sansom Street
Norfolk, VA 23541                                    Philadelphia, PA 1910                                Philadelphia, PA 19107



Snap-on Credit LLC                                   TD Bank
950 Technology Way                                   PO Box 1377
Suite 301                                            Lewiston, ME 04243
Libertyville, IL 60048




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)American Express National Bank                    (d)TRS Recovery Services                             (d)Adam Ethan Livingston
                                                     PO Box 674169                                        7 Rodricks Terrace
                                                     Marietta, GA 30006-0070                              Bridgewater, MA 02324-1645



End of Label Matrix
Mailable recipients      85
Bypassed recipients       3
Total                    88
